Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 1 of 8




           EXHIBIT 2
      Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 2 of 8




                 UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


CODE REVISION COMMISSION on
behalf of and for the benefit of THE
GENERAL ASSEMBLY OF
GEORGIA, and THE STATE OF
GEORGIA,
           Plaintiff,                           CIVIL ACTION NO.
     v.                                         1:15-CV-2594-RWS
PUBLIC.RESOURCE.ORG, INC.

           Defendant.



              DECLARATION OF LAWRENCE K. NODINE

     I, Lawrence K. Nodine, hereby testify and state by declaration as follows:

     1.    My name is Lawrence K. Nodine, and I am over the age of majority.

           This Declaration is made on my own personal knowledge and

           opinions, and I am competent to testify to the matters contained herein.

     2.    I am a partner at the law firm of Ballard Spahr LLP, and I am resident

           in the firm’s Atlanta office. I have practiced intellectual property law

           for more than 35 years. For this entire time, my practice has focused

           almost exclusively on intellectual property litigation. A significant

           portion of my professional experience has focused on copyright


                                        1
Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 3 of 8




     litigation. In addition, I have taught a variety of Intellectual Property

     courses, including copyright law, at Emory University Law School

     continuously since 1987.

3.   As a result of my experience, I am personally familiar with the market

     for copyright litigation legal services in both Atlanta and nationally. In

     addition, I am familiar with the complexity and the difficulties

     presented by copyright litigation.

4.   It is my understanding that the Plaintiffs in this matter, Code Revision

     Commission on behalf of and for the benefit of The General Assembly

     of Georgia and The State of Georgia (hereinafter “Plaintiff”), filed an

     injunctive   relief   action   for    copyright    infringement     against

     Public.Resource.Org, Inc. (hereinafter “Defendant”) on July 21, 2015;

     an Order was issued on March 23, 2017, granting Plaintiff’s Motion

     for Partial Summary Judgment and denying Defendant’s Motion for

     Summary Judgment; Plaintiff filed a Motion for an Award of

     Attorneys’ Fees and Other Costs on April 21, 2017.

5.   It is my understanding that my declaration relates to the attorneys’ fees

     and costs incurred by the Plaintiff during the course of this litigation.

6.   It is my understanding that the following events occurred after filing of

     the complaint:

                                    2
Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 4 of 8




     a. Defendant filed an Answer and Counterclaim on September 14,

        2015;

     b. Plaintiff   filed   an   Answer   to   Affirmative   Defenses    and

        Counterclaim and an Amended Complaint on October 8, 2015;

     c. Defendant filed an Answer to the Amended Complaint and

        Counterclaim on October 22, 2015;

     d. The Parties jointly filed a Stipulation of Facts on January 15, 2016;

     e. Plaintiff filed a Motion for Partial Summary Judgment on May 17,

        2016;

     f. Defendant filed a Motion for Summary Judgment on May 17,

        2016;

     g. Defendant filed its Opposition to Plaintiff’s Motion for Partial

        Summary Judgment on June 7, 2016;

     h. Plaintiff filed its Opposition to Defendant’s Motion for Summary

        Judgment on June 10, 2016;

     i. Both Parties filed their Replies in support of their Motion for

        Summary Judgment on July 5, 2016;

     j. Plaintiff filed a Notice of Filing of Supplemental Authority on

        March 10, 2017;




                                  3
Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 5 of 8




     k. The Court issued an Order on March 23, 2017, granting Plaintiff’s

         Motion for Partial Summary Judgment and denying Defendant’s

         Motion for Summary Judgment and ordering the Parties to propose

         a briefing schedule to address injunctive relief;

     l. The Parties filed a Joint Motion and Proposed Order regarding

         injunctive relief on April 6, 2017;

     m. The Court adopted and entered the proposed Order on April 7,

         2016.

7.   I have been informed that the Plaintiff retained Anthony B. Askew,

     Lisa C. Pavento and Warren J. Thomas of Meunier Carlin & Curfman

     LLC to represent them in the subject litigation.

8.   It is my understanding that the below listed initially negotiated hourly

     rates for attorneys and paralegals and paraprofessionals in this case

     still apply:

     a. Attorneys:               $225.00

     b. Paralegals &
        Paraprofessionals:       $50.00

9.   It is my understanding that the following chart reflects each

     timekeeper’s name, experience level, and hourly rate as charged to

     Plaintiff in connection with this litigation:



                                   4
Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 6 of 8




  Name                  Experience (years)     Hours Billed   Hourly Billed Rate
  Anthony B. Askew      Principal (52 years)       312              225.00
  Lisa C. Pavento       Principal (12 years)      535.4             225.00
  Warren J. Thomas      Associate (5 years)        98.5             225.00

  Mary M. Cogburn       Paralegal (25 years)        21               50.00
  Sharon Etelman        Paralegal Assistant        13.1              50.00



10.   Based on my experience and familiarity with the market for copyright

      litigation legal services, in this community and nationally, and my

      understanding of the effort and expertise required for the subject

      litigation, it is my opinion that the hourly billing rates for each of the

      timekeepers shown in this chart for the litigation action for which

      reimbursement is being sought are reasonable for intellectual property

      litigators and litigation paralegals and paraprofessionals of similar

      experiences in the Atlanta, Georgia community and nationally and are

      well below prevailing market rates for similar services by lawyers of

      comparable skill, experience and reputation. In fact, in my experience,

      the rates charged reflect a discount of at least 50% below prevailing

      market rates.

11.   Based on my experience and familiarity with the complexity of

      copyright infringement litigation, and based on the claims at issue in

      the subject litigation, the number of hours spent on the subject

      litigation is reasonable for intellectual property litigators and litigation

                                     5
Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 7 of 8




      paralegals and paraprofessionals of similar experiences in the Atlanta,

      Georgia community and nationally. Based on my review of the

      invoices, the hours billed were not excessive, redundant or

      unnecessary.

12.   It is my understanding that Plaintiff seeks reimbursement of their

      reasonable attorneys’ fees and other costs involved in the subject

      litigation in amounts as follows:

             Attorneys’ fees:    $214,532.50

             Costs:              $3,122.59

13.   Based on my understanding of the services provided by Plaintiff’s

      counsel in this litigation, as reflected on the attorney invoices and in

      the billing entries shown in exhibits to Plaintiff’s Detailed Requests for

      an Award of Attorneys’ Fees and Other Costs, it is my opinion that the

      total attorneys’ fee of $214,532.50 is reasonable for copyright

      infringement litigation in Atlanta, Georgia and nationally.




                                    6
Case 1:15-cv-02594-RWS Document 58-2 Filed 05/22/17 Page 8 of 8
